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                             UNITED STATES DISTRICT COURT
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                          SOUTHERN DISTRICT OF CALIFORNIA
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10    UNITED STATES OF AMERICA,                 Case No. 20cr803 JM
11                       Plaintiff,             Amended
                                                ORDER AND JUDGMENT
12          v.                                  DISMISSING INFORMATION
                                                WITHOUT PREJUDICE
13    BRAYAN MARTINEZ-TORRES,
14                       Defendant.
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16         Based on the motion of the United States to dismiss this case without prejudice, and
17   in light of the interests of justice, IT IS HEREBY ORDERED that the information in the
18   above-entitled action be dismissed without prejudice.
19         IT IS SO ORDERED.
20   Dated: October 21, 2020

21                                               Jeffrey T. Miller,
                                                 United States District Judge
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